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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division
UNITED STATES OF AMERICA
Vv. Criminal No. 3:19cr130
OKELLO T. CHATRIE,

Defendant.
QRDER

This matter comes before the Court sua sponte. On January 22, 2020, the Court ordered
the Parties to file “a statement regarding the Chesterfield County magistrate who signed the June
14, 2019 Geofence Warrant.” (Jan. 22, 2020 Order 1, ECF No. 78.) The Parties timely filed this
statement and stated that the “Magistrate who issued the geofence warrant in this case, David
Bishop, is not listed on the state website directory of magistrates as a Chief Magistrate,” which
means that if he assumed his position after July 1, 2008, Virginia law does not require him to “be
a member in good standing of the Virginia State Bar.” (Jt. Stip. Regarding Magistrate 1, ECF
No. 79 (citing Va. Code § 19.2-36(B).) The Parties further asserted that a “search of the Virginia
State Bar attorney directory does not reveal any David Bishop as a member of the Virginia State
Bar.” (dd. 2.)

The Parties also identify that Virginia law requires “all other Magistrates in Virginia who
have assumed the position of Magistrate since July 1, 2008, [to] . . have a bachelor’s degree from
an accredited institution.” (/d. 1 (citing Va. Code § 19.2-37(B).) Although Chatrie stated that he
had “reached out to the Chesterfield Count Magistrate’s office for further information about the
Magistrate’s qualifications” and would “supplement this stipulation with additional information
relating to this stipulation once received,” the Court has received no additional information on

this issue. (/d. 2.)
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In their briefing on the Geofence Motion to Suppress, the Parties do not address the
effects, if any, of a magistrate who may not hold a law degree or a higher education degree
signing the Geofence warrant. The Parties also do not address whether they have received
specific information regarding Mr. Bishop’s educational background or his position as either a
Magistrate or Chief Magistrate.

For these reasons, the Parties SHALL file no later than July 8, 2020, a statement, not to
exceed ten (10) pages, on these effects, if any. If they so choose, the Parties SHALL file no later
than July 15, 2020, a response, not to exceed ten (10) pages, to the other party’s statement. The
Parties SHALL address any additional information they have gained about Mr. Bishop in their
initial position statements.

It is SO ORDERED.

M.H ck
United States District Judge

Date: Ly | 2H [2020

Richmond, Virginia
